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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:23-MD-3076-MOORE




   FTX CRYPTOCURRENCY
   EXCHANGE COLLAPSE
   LITIGATION
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                  CERTIFICATE OF UNDERSTANDING REGARDING
            ELECTRONIC FILING IN THE SOUTHERN DISTRICT OF FLORIDA

          I, Rishi N. Zutshi, the undersigned, do hereby certify that:

          1. I am a member of good standing of the Bar of the State of New York; and am also admitted
             to practice in the United States District Courts for the Southern and Eastern Districts of New
             York.

           2. I have studied, understand, and will abide by the Local Rules for the Southern District
   of Florida.

        3. I have studied, understand, and will abide by the Administrative Procedures governing
   CM/ECF procedures in the Southern District of Florida.

          4. I will only use this electronic filing privilege in the matter captioned above and in no
   other case in the Southern District of Florida, even if I have been granted pro hac vice status in
   another case in the Southern District of Florida.

           5.I understand and agree that any misuse of this electronic filing privilege will be brought
   to the attention of the Honorable K. Michael Moore and that this privilege may be revoked at
   any time without notice.

     .     6. If any of the information below changes during the course of this action, I shall file a
   notice of such change in the MDL action, and I shall update my CM/ECF user account pursuant
   to the Administrative Procedures.
          Rishi N. Zutshi
          NY Bar No.: 4656724
          Cleary Gottlieb Steen & Hamilton LLP
          One Liberty Plaza
          New York, NY 10006
          T: (212) 225-2085
          F: (212) 225-3545
          rzutshi@cgsh.com

   Attorney Signature:   7
                         і /           //                                Date:      7/20/2023
